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                        9

                       10                                 UNITED STATES DISTRICT COURT

                       11                             NORTHERN DISTRICT OF CALIFORNIA

                       12                                    SAN FRANCISCO DIVISION

                       13

                       14   FACEBOOK, INC.,                               Case No. 5:08-cv-05780-JW (JCS)

                       15                    Plaintiff,                   FACEBOOK, INC.’S OPPOSITION TO
                                                                          DEFENDANTS’ MOTION FOR
                       16          v.                                     SUMMARY JUDGMENT

                       17   POWER VENTURES, INC. a Cayman Island          Date:          January 23, 2012
                            corporation, STEVE VACHANI, an individual;    Time:          9:00 A.M.
                       18   DOE 1, s/b/a POWER.COM, DOES 2-25,            Dept:          Courtroom 9, 19th Floor
                            inclusive,                                    Judge:         Hon. Chief Judge James Ware
                       19
                                             Defendants.
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ORRICK, HERRINGTON &                                                               FACEBOOK, INC.’S OPPOSITION TO DEFENDANTS’
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    ATTORNEYS AT LAW
                                                                                              MOTION FOR SUMMARY JUDGMENT
     SILICON VALLEY                                                                                       5:08-CV-05780-JW (JCS)
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ORRICK, HERRINGTON &                                                                                            FACEBOOK, INC.’S OPPOSITION TO DEFENDANTS’
    SUTCLIFFE LLP
    ATTORNEYS AT LAW                                                                          -i-                               MOTION FOR SUMMARY JUDGMENT
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ORRICK, HERRINGTON &                                                                                              FACEBOOK, INC.’S OPPOSITION TO DEFENDANTS’
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                        1   I.       INTRODUCTION
                        2            Defendants violated California Penal Code section 502, the Computer Fraud and Abuse

                        3   Act, and the CAN-SPAM Act. As described in Facebook’s co-pending Motions for Partial

                        4   Summary Judgment and associated declarations, incorporated herein by reference, the

                        5   overwhelming evidence establishes that Defendants are liable under these three statutes.

                        6            Defendants make four arguments in their motion: (1) they did not “initiate” unlawful

                        7   messages, (2) messages they sent did not contain false and misleading information, (3) their

                        8   unauthorized access to Facebook was not done with fraudulent intent and (4) Facebook did not

                        9   suffer harm. Each of Defendants’ arguments rests upon a faulty legal premise and ignores the

                       10   undisputed facts. Defendants’ invitation to ignore the law and the undisputed facts should be

                       11   rejected. Instead, Defendants’ Motion for Summary Judgment should be denied for the very

                       12   reasons Facebook’s two co-pending Motions for Partial Summary Judgment should be granted.

                       13   II.      DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT SHOULD BE DENIED.
                       14            The material facts associated with Defendants’ unlawful activities are undisputed.

                       15   Specifically, Defendants concede that they knowingly created and used automated software to

                       16   access the Facebook website, circumvented Facebook’s blocking efforts when they knew their

                       17   actions were not permitted by Facebook, harvested user information, and initiated the

                       18   transmission of commercial messages that failed to identify Power as the source of the messages.

                       19            The details of Defendants’ actions are set forth in Facebook’s pending Motions for Partial

                       20   Summary Judgment and the supporting submitted evidence. See 11/14/11 Mot. for Partial Summ.

                       21   J. on Count 1 (“Mot. for Summ. J. on CAN-SPAM”) and 11/17/11 Mot. for Partial Summ. J.

                       22   under California Penal Code Section 502 and the Computer Fraud and Abuse Act (“Mot. for

                       23   Summ. J. on 502 and CFAA”). Facebook hereby incorporates by reference those motions and

                       24   will, for brevity, cross-reference the evidence set forth in those companion submissions where

                       25   they relate to this Opposition. Appendix A (attached to this brief) identifies where in Facebook’s

                       26   motions for summary judgment each element of Facebook’s three claims is argued. This brief

                       27   focuses upon the remaining arguments raised by Defendants.

                       28
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     SILICON VALLEY                                                                                            5:08-CV-05780-JW (JCS)
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                        1           A.     Power’s Unauthorized Activities.
                        2                  1.      Defendants’ Conduct Violates California Penal Code Section 502.
                        3           Defendants’ access to the Facebook website and harvesting of Facebook user data,

                        4   coupled with their creation and use of circumvention technologies, violated California Penal Code

                        5   section 502. California Penal Code section 502(e) allows any owner of a computer system who

                        6   has suffered damage or loss to assert a private right of action against any person who:

                        7                  a) knowingly accesses and without permission takes, copies, or
                                           makes use of any data from a computer, [or] computer system;
                        8
                                           b) knowingly and without permission uses or causes to be used
                        9                  computer services; or
                       10                  c) knowingly and without permission accesses . . . any computer
                                           system.
                       11
                            Cal. Pen. Code § 502(c)(2), (3), and (7).
                       12
                                    This Court already found that the only remaining issues with respect to this claim were the
                       13
                            interrelated issues of intent and access “without authorization.” Mot. for Partial Summ. J. on 502
                       14
                            and CFAA at 4:10-25; see Dkt. No. 89 at 18:15-17. This Court previously explained that
                       15
                            “accessing or using a computer, computer network, or website in a manner that overcomes
                       16
                            technical or code based barriers is ‘without permission,’ and may subject a user to liability under
                       17
                            Section 502.” Dkt. No. 89 at 18:15-17; Mot. for Partial Summ. J. on 502 and CFAA at 4:10-6:28.
                       18

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                                                       . Mot. for Partial Summ. J. on 502 and CFAA at 4:10-6:28.
                       21
                                    Defendants incorrectly argue that there is “no evidence to support [Facebook’s]
                       22
                            circumvention theory.”1 Dkt. No. 98 at 17:11-13. To the contrary, extensive evidence exists that
                       23

                       24   1
                              Defendants’ main support for this contention is the Declaration of Steve Vachani in Support of
                            Defendants’ Motion for Summary Judgment. See Dkt. No. 98 at 17:13-26; Vachani Decl. at ¶ 11.
                       25   Notably, however, Vachani’s Declaration is carefully worded in an attempt to get around the
                            Court’s previous finding that circumvention of Facebook’s technical blocking measures could
                       26   result in Defendants’ liability under Penal Code section 502. Specifically, Vachani asserts that
                            “At some time during December 2008, Facebook began blocking one of the IP addresses Power
                       27   had used. Power did not undertake any effort to circumvent that block, and did not provide users
                            with any tools designed to circumvent it.” Vachani Decl., at ¶ 11.
                       28
ORRICK, HERRINGTON &                                                                    FACEBOOK, INC.’S OPPOSITION TO DEFENDANTS’
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                                                                            -2-                    MOTION FOR SUMMARY JUDGMENT
     SILICON VALLEY                                                                                            5:08-CV-05780-JW (JCS)
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                        1                                                                     . Mot. for Partial Summ. J. on
                        2   502 and CFAA at 4:10-6:28; Declaration of Lawrence Melling in Support of Facebook’s
                        3   Opposition to Defendants’ Motion for Summary Judgment (“Melling Declaration”) ¶¶ 34-42. As
                        4   explained in Facebook’s co-pending November 17, 2011, Motion for Partial Summary Judgment,
                        5

                        6

                        7                                                                                                        .
                        8   Mot. for Partial Summ. J. on 502 and CFAA at 4:26:6:28. This evidence conclusively establishes
                        9   a Section 502 violation.
                       10           Defendants next argue that they acted “with authorization,” an argument previously
                       11   rejected by this Court. Dkt. No. 98, Mem. P&A, at 17:4-7. To support their argument,
                       12   Defendants offer the declaration of Power’s CEO, and Co-Defendant in this action, Steve
                       13   Vachani, and the deposition testimony of Craig Clark, a Facebook employee who did not work at
                       14   Facebook during the time of Defendants’ attack. Defendants’ reliance on these two sources is
                       15   unwarranted.
                       16           Vachani’s declaration is purely speculative and rests upon erroneous legal assumptions as
                       17   to the meaning of “without authorization.”2 See Evid. Objections at 1:19-2:9; id. Appendix A at
                       18   6-8. As an initial matter, “[a] conclusory self-serving declaration, without more, cannot satisfy
                       19   defendant’s burden in moving for summary judgment pursuant to Rule 56.” Olson v. Dias, No.
                       20   C08-3382 PJH, 2010 U.S. Dist. LEXIS 101335, *5 (N.D. Cal. Sept. 24, 2010). See also United
                       21   States v. Wilson, 881 F. 2d 596, 601 (9th Cir. 1989) (Defendants’ declarations found too
                       22   speculative to support Defendants’ contentions where they offered little more than conclusory
                       23   statements of fact and were self-serving). Vachani’s assertions are exactly the type of conclusory
                       24   and unsubstantiated statements that are prohibited. Evid. Objections at 2:7-9; id. Appendix A at
                       25   8. Vachani’s declaration makes conclusory assumptions as to the legal meaning of “without
                       26
                                                                           . Melling Decl., ¶¶ 34-42.
                       27   2
                             Filed concurrently with this Motion is Facebook’s Evidentiary Objections to the Declaration of
                       28   Steve Vachani in Support of Defendants’ Motion for Summary Judgment (“Evid. Objections”).
ORRICK, HERRINGTON &                                                                    FACEBOOK, INC.’S OPPOSITION TO DEFENDANTS’
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                                                                            -3-                    MOTION FOR SUMMARY JUDGMENT
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                        1   authorization” by incorrectly identifying whose “authorization” is needed. Id.
                        2           Vachani also has no personal knowledge related to the circumvention technologies
                        3   Defendants used. Evid. Objections at 2:1-9. Vachani did not write the code.3 Indeed, he
                        4   admitted that he is “not a skilled [computer] programmer by profession” and that he has no
                        5   personal knowledge about how Defendants’ software connected to the Facebook website.
                        6   Declaration of Theresa A. Sutton in Support of Facebook, Inc.’s Opposition to Defendants’
                        7   Motion for Summary Judgment (“Sutton Decl.”), Ex. 1 at 12:24-13:15; 14:1-5; 182:16-186:6;
                        8   189:10-191:8; 195:23-197:13; 203:19-206:22; 209:11-15; 212:19-213:4; 254:2-15; 256:8-257:10;
                        9   257:22-267:22; 273:6-274:10. Nevertheless, Vachani instructed his employees to be prepared for
                       10   Facebook’s blocks and                                                             . Id. at 313:2-
                       11   14; Ex. 2; see also Melling Declaration ¶¶ 34-42.
                       12           Vachani’s testimony also can be disregarded because it rests upon the fallacious
                       13   assumption that only user authorization to access the Facebook website was needed. Evid.
                       14   Objections at 2:11-22; Appendix A to Facebook’s Obj. to Evid. at No.9. To the contrary, this
                       15   Court already has recognized that Facebook must give authorization. Dkt. No. 89 at 18:18-23.
                       16   As set forth in Facebook’s motions for summary judgment,
                       17                                        . Mot. for Partial Summ. J. on 502 and CFAA at 4:10-6:28;
                       18   Mot. for Partial Summ. J. on CAN-SPAM at 5:1-4; 16:16-17 citing Cooper Decl. Ex. 11.
                       19

                       20

                       21                . Id.; see also Dkt. No. 89 at 11-12; Mot. for Partial Summ. J on CAN-SPAM at
                       22   4:17-9:5; Melling Declaration ¶¶ 34-42.
                       23           Defendants’ reliance on Mr. Clark, the sole witness deposed by Defendants in this case,
                       24   also is misplaced. Mr. Clark was deposed in his individual capacity—not as Facebook’s 30(b)(6).
                       25   Mr. Clark has no personal knowledge of the facts of this case. Sutton Decl. Ex. 3 at 7:5-6; 81:8-
                       26
                            3
                       27     Mr. Vachani’s assertions that “Power did not undertake any effort to circumvent” Facebook’s
                            blocks (Dkt. No. 98, Vachani Decl., ¶ 11) also are demonstrably false, as he was the person who
                       28   instructed his team to be prepared for efforts by Facebook to block Power. Sutton Decl. Ex. 2.
ORRICK, HERRINGTON &                                                                   FACEBOOK, INC.’S OPPOSITION TO DEFENDANTS’
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                                                                           -4-                    MOTION FOR SUMMARY JUDGMENT
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                        1   18; 85:22-86:1; 107:11-12. He was not even employed at Facebook when the operative events in
                        2   this action occurred. Id. at 7:5-6. His personal knowledge of Defendants’ actions is
                        3   understandably limited and not relevant.
                        4                  2.      Power Violated 18 U.S.C. Sections 1030(a)(4) and 1030(a)(2) of The
                                                   CFAA.
                        5
                                   Facebook has asserted claims under sections 1030(a)(4) and 1030(a)(2) of the CFAA
                        6
                            against Defendants. Defendants only challenge Facebook’s assertion under section 1030(a)(4).
                        7
                            Facebook’s CFAA and Penal Code 502 claims are fundamentally the same, and Defendants
                        8
                            should be liable under section 1030 for the same reasons they are liable under Penal Code section
                        9
                            502. Multiven, Inc. v. Cisco Systems, Inc., 725 F. Supp. 2d, 887, 895 (N. D. Cal. 2010); Hanger
                       10
                            Prosthetics & Orthotics, Inc. v. Capstone Orthopedic, Inc., 556 F. Supp. 2d 1122, 1131-1132
                       11
                            (E.D. Cal. 2008) (considering plaintiffs’ California Penal Code section 502 and CFAA claim
                       12
                            together since “section 502 . . . has similar elements to 1030”); DocMagic, Inc. v. Ellie Mae, Inc.,
                       13
                            745 F. Supp. 2d 1119, 1150 (N.D. Cal. 2010) (asserting that “[t]he CCDAFA [Penal Code section
                       14
                            502] is similar to the CFAA, but prohibits a wider range of conduct”).
                       15
                                   Despite the strong overlap of the two statutes, Defendants insist they are exonerated under
                       16
                            CFAA Section 1030(a)(4) because they never intended to defraud anyone. Dkt. No. 98 at 18-19.
                       17
                            Defendants’ reading of the law is wrong. This Court has recognized that fraud under the CFAA
                       18
                            “simply means wrongdoing and does not require proof of common law fraud.” Multiven, 725 F.
                       19
                            Supp. 2d at 892 (citing Hanger Prosthetics & Orthotics, Inc., 556 F. Supp. 2d, at 1131). As set
                       20
                            forth in Facebook’s motion for summary judgment,
                       21

                       22
                                                                                          . Mot. for Partial Summ. J. on 502
                       23
                            and CFAA at 4:10-6:28; Mot. for Partial Summ. J. on CAN-SPAM at 4:26-8:10. Such actions are
                       24
                            precisely the type of wrongdoing that is actionable under the CFAA. See Register.com, Inc. v.
                       25
                            Verio, Inc., 126 F. Supp. 2d 238, 251 (S.D.N.Y 2000) (finding that Defendant’s use of a search
                       26
                            robot to access plaintiff’s computers and harvest registrant information was in violation of the
                       27
                            CFAA); see also Multiven, 725 F. Supp. 2d at 892. Dkt. No 54 ¶¶ 29-30; Sutton Decl. Ex. 1 at
                       28
ORRICK, HERRINGTON &                                                                    FACEBOOK, INC.’S OPPOSITION TO DEFENDANTS’
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                                                                            -5-                    MOTION FOR SUMMARY JUDGMENT
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                        1   274:13-275:16; 276:7-13; 279:16-280:24; Ex. 4 at Request Nos. 15, 22, 51.4 As a result,
                        2   Defendants violated the CFAA. See 18 U.S.C. §§ 1030(a)(2)(c) and 1030(a)(4); Mot. for Partial
                        3   Summ. J. on 502 and CFAA at 2:10-6:28.
                        4                  3.     Facebook Suffered Harm in Excess of $5000.
                        5           Defendants next challenge Facebook’s standing. Facebook has standing because it has
                        6   suffered sufficient harm under both Penal Code section 502 and the CFAA. Penal Code Section
                        7   502 requires “some” harm while the Computer Fraud and Abuse Act requires $5000 in damage or
                        8   loss. 18 U.S.C. § 1030. Facebook easily meets both standards. Facebook spent considerable
                        9   resources to investigate and stop Defendants’ attack. As set forth in Facebook’s motions for
                       10   summary judgment, Facebook’s harm greatly exceeded the $5000 jurisdictional prerequisites.
                       11   Mot. for Partial Summ. J. on 502 and CFAA at 3:19-4:7.
                       12           Defendants incorrectly argue that Facebook “must prove that Power obtained something
                       13   of value worth more than $5000.” Dkt. No. 98, Mem. P&A, at 18:2-5. Section 1030(a)(4)
                       14   requires that a party prove that a Defendant accesses a “protected computer without authorization,
                       15   or exceeds authorized access, and by means of such conduct furthers the intended fraud and
                       16   obtains anything of value, unless the object of the fraud and the thing obtained consists only of
                       17   the use of the computer and the value of such is not more than $5000 in any 1-year period . . . .”
                       18   (emphasis added). 18 U.S.C. § 1030(a)(4). The statute specifically allows for a claim if the
                       19   defendant obtains “anything” of value. The exception outlined in the statute simply does not
                       20   apply. Therefore, Defendants cannot escape liability.
                       21                  4.     Defendants’ Activities in Violation of The CAN-SPAM Act.
                       22           As a matter of law, Defendants were the “initiators” of commercial messages sent through
                       23   Facebook’s systems. As explained in Facebook’s co-pending motion, Defendants created
                       24   4
                              While Vachani’s declaration asserts that Power “never copied or stored for any purpose” users’
                       25   “usernames and passwords,” this testimony is directly contradicted by Defendants’ Responses to
                            Facebook’s First Set of Requests for Admission on Power (certified by Steve Vachani himself),
                       26   where Power specifically admits to storing “Facebook user login information, including, but not
                            limited to, user login names, email addresses or passwords.” See Sutton Decl., Ex. 4 at Request
                       27   No. 15; see also id. at Request No. 51(Power admits that between January 1, 2008 and present
                            date, they “stored, saved, or otherwise retained Facebook user log-in information, such as user
                       28   names and/or passwords.”).
ORRICK, HERRINGTON &                                                                    FACEBOOK, INC.’S OPPOSITION TO DEFENDANTS’
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                                                                            -6-                    MOTION FOR SUMMARY JUDGMENT
     SILICON VALLEY                                                                                            5:08-CV-05780-JW (JCS)
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                        1   Facebook Events entitled “Launch Promotion” and drafted and caused the related messaging to be
                        2   sent through Facebook’s systems. See Mot. for Partial Summ. J. on CAN-SPAM at 5:5-6:22.
                        3   Defendants’ Event creation process also triggered “Launch Promotion” emails. Id. As further
                        4   detailed in Facebook’s motion for summary judgment,
                        5

                        6

                        7                                              . Mot. for Partial Summ. J. on CAN-SPAM at 4:26-7:1.
                        8

                        9                                        Id. at 7:20-23. Under these undisputed facts, Defendants are
                       10   liable for violating the CAN-SPAM Act.
                       11            To avoid liability, Defendants once again distort the law and argue they did not “initiate”
                       12   transmissions of email notifications related to their “Launch Promotion” Events because
                       13   Facebook’s automated processes generated those communications. Dkt. No. 98, Mem. P&A, at
                       14   7:1-8. However,
                       15                                                . Mot. for Partial Summ. J. on CAN-SPAM at 6:1-7:1.
                       16   That the Event invitations and messages triggered an automated Facebook process that further
                       17   distributed Defendants’ message is an aggravating, not mitigating, fact.5
                       18            Power also bootstraps its faulty construction of “initiate transmission” to argue that it
                       19   could not control “opt-out” information sent through Facebook’s system. Dkt. No. 98, Mem.
                       20   P&A, at 15:3-12. This argument also is wrong. Power, as the creator, initiator, drafter and source
                       21   of the messages, bears responsibility for providing opt-out notices. Myspace, Inc. v. Wallace, 498
                       22   F. Supp. 2d 1293, 1302 (C.D. Cal. 2007) (“Congress clearly intended this provision to enable
                       23   recipients of commercial spam to contact the spammer to curb further spamming.” (emphasis in
                       24   original)). The “Launch Promotion” messages that Defendants created and sent did not contain
                       25   5
                              Additionally, Defendants are liable for initiation of the messages because of the monetary
                       26   incentive they offered their users to recruit Facebook users. See 15 U.S.C. § 7702(12); see Dkt.
                            No. 12:27-14:8. Defendants incorrectly assert that they did not pay Facebook to send messages.
                       27   This, however, is not the relevant inquiry. Defendants paid their users to send unsolicited
                            commercial messages through Facebook’s system and servers. Mot. for Partial Summ. J. on
                       28   CAN-SPAM at 5:5-6:22.
ORRICK, HERRINGTON &                                                                       FACEBOOK, INC.’S OPPOSITION TO DEFENDANTS’
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                                                                              -7-                     MOTION FOR SUMMARY JUDGMENT
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                        1   any opt-out information to allow recipients to identify Defendants as the source. Since
                        2   Defendants authored all of the content at issue, it was unambiguously in their power to make such
                        3   disclosures. See Sutton Decl., Ex. 4 at Request No. 50; see Id. Ex. 1 at 197:9-12; 203:19-204:7.
                        4   They chose not to do so and violated the CAN-SPAM Act in the process.
                        5   III.   CONCLUSION
                        6          For the foregoing reasons, Facebook respectfully requests that the Court deny Defendants’
                        7   Motion for Summary Judgment.
                        8

                        9   Dated: December 2, 2011                           Orrick, Herrington & Sutcliffe LLP
                       10

                       11                                                     By:          /s/ I. Neel Chatterjee /s/
                                                                                            I. NEEL CHATTERJEE
                       12                                                                   Attorneys for Defendant
                                                                                               FACEBOOK, INC.
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ORRICK, HERRINGTON &                                                                   FACEBOOK, INC.’S OPPOSITION TO DEFENDANTS’
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    ATTORNEYS AT LAW
                                                                           -8-                    MOTION FOR SUMMARY JUDGMENT
     SILICON VALLEY                                                                                           5:08-CV-05780-JW (JCS)
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     FACEBOOK, INC.
 9
10                                    UNITED STATES DISTRICT COURT

11                              NORTHERN DISTRICT OF CALIFORNIA

12                                       SAN FRANCISCO DIVISION

13

14   FACEBOOK, INC.,                                 Case No. 5:08-cv-05780 JW

15                      Plaintiffs,                  [PROPOSED] ORDER DENYING
                                                     DEFENDANTS’ MOTION FOR
16          v.                                       SUMMARY JUDGMENT

17   POWER VENTURES, INC. a Cayman Island
     Corporation,; STEVE VACHANI, an                 Dept:      Courtroom 9, 19th Floor
18   individual; DOE 1, d/b/a POWER.COM,             Judge:     Honorable James Ware
     DOES 2-25, inclusive,
19

20                      Defendants.

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                                                              [PROPOSED] ORDER DENYING DEFENDANTS’ MSJ
                                                                                       5:08-CV-05780 JW
     Case 5:08-cv-05780-LHK Document 228 Filed 01/19/12 Page 13 of 13



 1            Steve Vachani’s and Power Ventures, Inc.’s (collectively “Defendants”) Motion for

 2   Summary Judgment came on for hearing on December 19, 2011, before the Honorable Chief

 3   Judge James Ware. The Court, having considered the papers filed in support of and in opposition

 4   to Defendants’ Motion for Summary Judgment, as well as those papers incorporated by reference,

 5   the arguments presented at the hearing, and other matters relevant to the determination of the

 6   Motion,

 7            Hereby finds and Orders that Defendants’ Motion for Summary Judgment is DENIED.

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 9            IT IS SO ORDERED.
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     Dated:
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                                                                 Honorable James Ware
14                                                                    Chief Judge
                                                              Northern District of California
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                                                                    [PROPOSED] ORDER DENYING DEFENDANTS’ MSJ
                                                                                             5:08-CV-05780 JW
